All Accounts

F
Bank of America

Checking

: ine
Club Rhythm & Blues - Payroll

Jarvis, Dana
Bank Account Summary
Lead Sheet

002064492265

M. Albers
7-28-06

Bank of America Checking Club Rhythm & Blues - Operating 002064192936
Bank of America Checking Dana Jarvis 0011-1122-8357
Bank One Savings Dana Jarvis 4045-5157
Bank One Checking Dana Jarvis or Melania Kerwin 661565861
Bank One Checking Dana Jarvis 689832822

First State Bank Savings Dana Jarvis 1223801

First State Bank Checking Dana Jarvis 1874527
Community Bank Checking Dana Jarvis or Dakota Fitzner 271021353

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GOVERNMENT
EXHIBIT

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Jarvis, Dana M. Albers
Bank Account Summary 7-28-06
Net Cash

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CashIN | $233,766.35 | $302,574.50 $324,400.38 | $309,947.70 $217,960.72] $161,469.55 | $14,329.54 $1,564,448.74

Cash OUT! $12,183.00!  $10,500.00| $37,344.33 $12,987.00 $5,579.33 $4,163.28) $14,420.00! $97,176.94 6.21%

Difference $221,583.35 | $292,074.50 | $287,056.05 | $296,960.70 | $212,381.39 | $157,306.27 ($90.46) $1,467,271.80 | 93.79%
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Calendar Year 1999

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Jarvis, Dana
Bank Account Summary

M. Albers
10-12-06

oo oe
002064492265 $68,977.14 $2,500.00 $43,717.58 $20,750.00 $2,009.56 a $69,478.99 $50,014.80 $19,464.19
002064192936 $298,139.10 | $202,705.35 $7,027.50 $88,365.70 $40.55 _ $302,757.21 $150.00 | $281,524.61 [$20,750.00 $482.60
0011-1122-8357 $6,460.46 $5,608.27 $852.19 | $6,591.40 $6,591.40
4045-5157 $5,533.31 $5,401.00 $132.31 $10,000.00 $10,000.00
661565861 :
689832822
1223801 $16,201.52 $16,040.00 $161.52. | $14,129.56 | $11,653.00 $2,476.56
1874527
271021353 $7,579.75 $7,120.00 $450.00 $9.75 i $7,473.80 $380.00 $7,075.05 $1 8.75 |
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Totals $402,891.28 | $233,766.35 | $12,635.77 | $43,717.58 | $89,667.89 | $20,750.00 | $2,353.69 200 r $410,430.96 | $12,183.00 | $357,682.42 |$20,750.00 | $19,965.54

Page 1 of 1
Calendar Year 2000

$11,998.50

$2,000.00

Jarvis, Dana
Bank Account Summary

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$190.94

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M. Albers
10-12-06

002064492265 | $120,067.29 $52,477.85 $53,400.00 14,873.52 $82,458.80 $32,414.72
002064192936 | $272,477.10 | $265,677.75 $6,629.45 $110.00 $59.90 $265,437.71 $187,887.42 | $77,400.00 $150.29
0011-1122-8357 | $100,822.50 $76,633.92 $188.58 | $24,000.00 $30,779.31 $30,779.31
4045-5157 $4,934.89 $4,681.00 $253.89 $0.00
661565861
689832822 |
1223801 $20,184.36 | $16,917.25 $3,267.11 | $21,010.95 | $10,500.00 | $10,500.00 $10.95
1874527
271021353 $3,304.31 $3,300.00 $4.31 ; $3,410.26 $3,301.95 $108.31
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Totals $521,790.45 | $302,574.50 | $85,263.37 | $52,477.85 $298.58 | $77,400.00 | $3,776.15 $0.00 $435,511.75 | $10,500.00 | $314,927.48 | $77,400.00 | $32,684.27
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Calendar Year 2001

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$67,741.46

Jarvis, Dana
Bank Account Summary

$200.00

$49,051.35

M. Albers
10-12-06

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002064492265 $73,253.85 $5,500.00 $12.39 $77,688.84 $15,737.49
002064192936 | $322,233.49 | $299,124.25 | $7,322.18 $12,700.00 | $3,087.06 | $331,600.63 $270.00 | $280,514.11 | $43,421.11 $7,395.41
0011-1122-8357| $54,332.97 $6,000.00 | $13,362.71 $3,049.15 | $31,921.11 | __ $122,818.67 $122,758.67 $60.00 |
4045-5157 $160.96 $160.96 © $6,000.00 $6,000.00
661565861
689832822 a
11223801 $36,798.44 $19,276.13 | $6,749.60 $608.37 $10,164.34 $41,801.30 | $36,874.33 $4,000.00 $926.97
1874527 |
271021353

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Totals $486,779.71 | $324,400.38 | $27,434.49 | $67,741.46 $3,657.52 | $50,121.11 | $13,424.75 $579,909.44 | $37,344.33 | $462,324.13 | $56,121.11 | $24,119.87

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Page 1 of 1
Calendar Year 2002 Jarvis, Dana M. Albers
Bank Account Summary 10-12-06

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002064492265 $96,211.07 $11,800.00] $3,083.01 | $75,944.20 $5,378.50 $5.36 $96,130.25 $64,226.48 | $6,000.00 | $25,903.77
002064192936 | $276,160.27| $265,331.70! $4,817.00 $6,000.00 $11.57. $279,671.06 $4,287.00 | $245,444.21 ($27,725.06 $2,214.79
0011-1122-8357| $27,629.96 $5,200.00 | $7,199.64 $9,197.01 $6,000.00 $33.31 $30,776.42 $2,000.00 $27,521.42 $1,255.00
4045-5157 $27.96 $27.96 $10.00 $10.00
661565861 i
689832822 7
1223801 $81,744.18 $25,766.00 | $32,200.23 $14,068.00 | $9,709.95 | $42,908.88 $6,700.00 $925.97 {$32,500.00 $2,782.91
1874527 $49,551.80 $1,850.00 | $6,923.24 $40,778.56 $45,892.18 $45,085.41 $806.77
271021353

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Totals $531,325.24 | $309,947.70 | $54,223.12 | $75,944.20| $9,197.01 | $72,225.06 | $9,788.15 | $495,388.79 | $12,987.00 | $383,203.49 [$66,225.06 | $32,973.24

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Calendar Year 2003

Bank Account Summary

Jarvis, Dana

L ie i oS - _ Withdrawals Withdrawals Written == Out Dal

002064492265 $88,098.11 $4,053.00 $2,256.58 | $71,971.10 $9,600.00 $217.43 | $89,404.63 $54,822.84 $7,000.00 $27 581.79
002064192936 $195,796.72 | $178,206.05 $4,463.37 $6,073.50 $7,049.00 $4.80 || $197,854.25 $3,579.33 | $151,809.47 | $27,000.00 $15,465.45
0011-1122-8357
4045-5157 $31.60 $10.00 $21.60 | $2,000.00 $2,000.00
661565861 .
689832822 |
1223801 $38,661.83 $22,344.67 $6,240.99 $10,000.00 $76.17. $81,421.80 $62,850.00 $18,571.80
1874527 $92,330.96 $13,347.00 $6,458.96 $70,750.00 $1,775.00 $94,597.20 $93,125.94 $1,471.26
271021353

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Totals $414,919.22 | $217,960.72| $19,419.90; $71,971.10 $6,073.50 | $97,399.00 $2,095.00 || $465,277.88 $5,579.33 | $299,758.25 | $96,850.00 $63,090.30

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Calendar Year 2004 Jarvis, Dana M. Albers
Bank Account Summary 10-12-06

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$9,344.32 $8,924.89

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$2,600.00 $319.00 | $49,476.48

$31,207.27

002064492265 $51,197.46
002064192936 | $113,602.74 | $100,072.55 $3,964.50 | _ $9,563.32 $2.37 | __$113,634.05 $763.28 $76,107.53 | $27,769.00 $8,994.24
001 1-1122-8357 T
4045-5157 $4,995.54 $400.00 $1,582.00 [ $3,000.00 $13.54 $9,762.00 $2,000.00 $5,005.00 | $2,700.00 $57.00
661565861 $26,788.97 | $23,203.00 $51.80 $2,700.00 $834.17 | $2,000.00. $26,653.47 $1,400.00 $15,042.93 | $3,000.00 $7,210.54
689832822 [ :
1223801 $32,940.62 |_ $17,469.00 $2,634.31 $8,300.00 | $4,537.31 $33,613.96 $22,425.00 | $11,188.96 |
1874527 $76,347.22 | $20,325.00| $17,132.22 $38,875.00 $15.00 || __ $77,523.83 $75,752.41 $300.00 $1,471.42
271021353 [

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Totals $305,872.55 | $161,469.55 | $25,364.83 | $48,278.46 | $0.00 | $65,038.32 | $5,721.39 | $2,000.00 $310,663.79 $4,163.28 | $203,115.14 | $65,538.32 | $37,847.05

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Calendar Year 2005

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Jarvis, Dana
Bank Account Summary

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M. Albers

10-12-06

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002064492265 $7,869.09 $190.54 $6,694.00 $415.00 $569.55 | $9,847.40 $4,272.92 $5,574.48
002064192936 $2,674.20 $2,570.00 $104.20 $3,591.03 $1,613.40 $415.00 $1,562.63
0011-1122-8357 . |
4045-5157 $17,898.44 $200.00 $16,697.00 $1,000.00 $1.44 $17,156.50 $3,770.00 $13,250.00 $136.50 |
661565861 $570.00 $570.00 1 $705.50 $40.00 $665.50
689832822 $14,750.00 $500.00 $14,250.00 $13,478.81 $5,010.00 | $5,690.00 $2,500.00 $278.81
1223801 $46,855.56 | $3,319.00 $43,510.00 $26.56 «$36,174.56 $2,600.00 $27,050.00 $6,524.56
1874527 $116,772.94 | $9,550.00 $80,172.94 $27,050.00 = $117,573.18 $3,000.00 | $70,245.41 | $43,010.00 $1,317.77
271021353 i

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Totals $207,390.23 | $14,329.54 $96,869.94 $6,694.00 | $2,570.00 | $86,225.00 $701.75 , $198,526.98 | $14,420.00 | $81,821.73 | $86,225.00 | $16,060.25

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